         Ease2:18-cv-01839-MMB
        Case  2.!B-cv-01839 MMB Document     17 Filed
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                                                                                              APPENDIX X


                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRlCT OF PENNSYLVANIA
The Cett.Je..r {N I nv'tSl-i ~"-f-\ve
 ·~flbY.hj-                                    CIVIL ACTION
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SbvH,eo.~u"   Pttt"'<:.1'".,.,.,. ..... \;~n>p.v~ht;M...
 ~vi?"                                                         NO. l~-cv'-   Olf3<('-MMB
 IJ3Ll ~o.-tW Slru}-                                       .
 l1 11\L~h1tl , fIt. 19101-                            ORDER
       AND NOW, this               ~i'Yl Day of JU~                    ,20{ 8: it is hereby
       ORDERED that the application of 1). Vie:t9titi            B(i.ra.ael)y, Esquire, to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

       ~GRANIFD.
       _[J_ DENIED.
